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                                                                                                       CJA,CLOSED

                                  US District Court Electronic Case Filing System
                                             District of Utah (Central)
                               CRIMINAL DOCKET FOR CASE #: 2:14-cr-00124-DN-1


         Case title: USA v. Hathaway                                  Date Filed: 03/12/2014
                                                                      Date Terminated: 05/15/2015


         Assigned to: Judge David Nuffer

         Defendant (1)
         Corbon Dalynn Hathaway                        represented by Jeremy M. Delicino
         TERMINATED: 05/15/2015                                       JEREMY DELICINO LLC
                                                                      9 EXCHANGE PL STE 600
                                                                      SALT LAKE CITY, UT 84111
                                                                      (801)364-6474
                                                                      Email: jeremy@jeremydelicino.com
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED
                                                                      Designation: CJA Appointment

         Pending Counts                                               Disposition
                                                                      Dft pleaded guilty. SENTENCE: Dft
                                                                      committed to custody of BOP for 36
         18:1344 BANK FRAUD; 18:2 Aiding and
                                                                      months. Upon rls, dft shall be on
         Abetting
                                                                      Supervised Release for 60 months. FINE:
         (4)
                                                                      None. RESTITUTION: $30,417.48. SPA:
                                                                      $100.00

         Highest Offense Level (Opening)
         Felony

         Terminated Counts                                            Disposition
         18:1344 BANK FRAUD; 18:2 Aiding and
         Abetting                                                     Dismissed per government motion
         (1-3)
         18:1344 BANK FRAUD; 18:2 Aiding and
         Abetting                                                     Dismissed per government motion
         (5-8)
         18:1028A FRAUD WITH
         IDENTIFICATION DOCUMENTS
         Aggravated Identity Theft; 18:2 Aiding                       Dismissed per government motion
         and Abetting
         (9-10)


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         Highest Offense Level (Terminated)
         Felony

         Complaints                                                            Disposition
         None



         Plaintiff
         USA                                                   represented by Richard W. Daynes
                                                                              US ATTORNEY'S OFFICE
                                                                              111 S MAIN ST STE 1800
                                                                              SALT LAKE CITY, UT 84111-2176
                                                                              (801) 325-3361
                                                                              Email: Richard.Daynes@usdoj.gov
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED


          Date Filed         #     Docket Text
          03/12/2014          1 INDICTMENT as to Corbon Dalynn Hathaway (1) count(s) 1-8, 9-10. Assigned to
                                Judge David Nuffer (alt) (Entered: 03/12/2014)
          03/13/2014        10 ARREST Warrant Returned Executed on 3/13/14, filed on 3/20/14 in case as to Corbon
                               Dalynn Hathaway (alt) (Entered: 03/21/2014)
          03/18/2014          3 First MOTION for Writ of Habeas Corpus ad prosequendum by USA as to Corbon
                                Dalynn Hathaway. (Attachments: # 1 Text of Proposed Order)(Daynes, Richard)
                                (Entered: 03/18/2014)
          03/18/2014          4 DOCKET TEXT ORDER granting 3 Motion for Writ of Habeas Corpus ad
                                prosequendum as to Corbon Dalynn Hathaway (1). Signed by Magistrate Judge Paul M.
                                Warner on 3/18/14. No attached document. (ksm) (Entered: 03/18/2014)
          03/18/2014          5 Writ of Habeas Corpus ad Prosequendum Issued as to Corbon Dalynn Hathaway for
                                3/20/14 10:45 a.m. before Magistrate Judge Paul M. Warner (alt) (Entered: 03/18/2014)
          03/20/2014          6 Minute Entry for proceedings held before Judge Magistrate Judge Paul M. Warner:
                                Initial Appearance/Arraignment/Pretrial Conference as to Corbon Dalynn Hathaway (1)
                                Count 1-8,9-10 held on 3/20/2014.Defendant present and in custody. Financial Affidavit
                                submitted The court appoints CJA counsel. Added attorney Jeremy M. Delicino for
                                Corbon Dalynn Hathaway. The dft waives formal reading of Indictment. Rights and
                                penalties explained. The dft enters a plea of NOT GUILTY.The govt. seeks detention.
                                The dft is here on a writ. The dft elects to stay in Federal Custody. The court orders the
                                dft detained and remanded to the USMS pending resolution of this matter. ( Discovery
                                due by 3/27/2014., Motions due by 4/17/2014., Plea Agreement due by 4/7/2014.,
                                Proposed Jury Instructions along with proposed voir dire questions 5/23/2014., 3 Day
                                Jury Trial set for 5/27/2014 08:30 AM in Rm 3.100 before Judge David Nuffer.)
                                Attorney for Plaintiff: Scott Romney, Attorney for Defendant: Jeremy Delicino, CJA.
                                Interpreter: Not Needed. Probation Officer: Blanca Tillman. Court Reporter: Laura



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                                   Robinson. (ksm) (Entered: 03/20/2014)
          03/20/2014          8 DOCKET TEXT ORDER OF DETENTION PENDING TRIAL as to Corbon Dalynn
                                Hathaway NOTE: Any future review of detention will remain with the magistrate judge
                                who entered the first detention order, even if an order of referral to a different magistrate
                                judge is entered on this defendant's case. No attached document.. Signed by Magistrate
                                Judge Paul M. Warner on 3/20/14. (ksm) (Entered: 03/20/2014)
          03/20/2014          9 NOTICE OF ATTORNEY APPEARANCE: Jeremy M. Delicino appearing for Corbon
                                Dalynn Hathaway (Delicino, Jeremy) (Entered: 03/20/2014)
          04/01/2014        12 First MOTION for Protective Order by USA as to Corbon Dalynn Hathaway.
                               (Attachments: # 1 Text of Proposed Order)(Daynes, Richard) (Entered: 04/01/2014)
          04/02/2014        13 PROTECTIVE ORDER granting 12 Motion for Protective Order as to Corbon Dalynn
                               Hathaway (1). Signed by Magistrate Judge Paul M. Warner on 4/1/14 (alt) (Entered:
                               04/02/2014)
          04/03/2014        14 First CERTIFICATE OF COMPLIANCE and Request for Reciprocal Discovery filed by
                               USA as to Corbon Dalynn Hathaway. (Daynes, Richard) (Entered: 04/03/2014)
          04/28/2014        15 Stipulated MOTION to Continue filed by Corbon Dalynn Hathaway. (Delicino, Jeremy)
                               (Entered: 04/28/2014)
          04/29/2014        16 ORDER TO CONTINUE - Ends of Justice as to Corbon Dalynn Hathaway: Time
                               excluded from 5/27/14 until 9/8/14. Motion granted: 15 Stipulated MOTION to
                               Continue. 3-Day Jury Trial reset for 9/8/2014 08:30 AM in Rm 3.100 before Judge
                               David Nuffer. Signed by Judge David Nuffer on 4/29/14
                               Court Address: NEW COURTHOUSE - 351 South West Temple, Salt Lake City, Utah
                               (alt) (Entered: 04/29/2014)
          08/26/2014               NOTICE VACATING 3-DAY JURY TRIAL HEARING as to Corbon Dalynn
                                   Hathaway set for Monday, September 8, 2014 before Judge David Nuffer.

                                   On 8/5/2014, defense counsel notified Judge Nuffer's chambers that the trial will not go
                                   forward as scheduled. Counsel are to either file a motion to continue or set the matter
                                   for resolution before the duty magistrate judge on or before Noon, September 3, 2014.
                                   (asb) (Entered: 08/26/2014)
          09/03/2014        19 Stipulated MOTION to Continue filed by Corbon Dalynn Hathaway. (Attachments: # 1
                               Order)(Delicino, Jeremy) (Entered: 09/03/2014)
          09/03/2014        20 ORDER TO CONTINUE - Ends of Justice as to Corbon Dalynn Hathaway: Time
                               excluded from 9/8/14 until 11/12/14. Motion granted: 19 Stipulated MOTION to
                               Continue. 3-Day Jury Trial reset for 11/12/2014 08:30 AM in Rm 3.100 before Judge
                               David Nuffer. Signed by Judge David Nuffer on 9/3/14
                               Court Address: NEW COURTHOUSE - 351 South West Temple, Salt Lake City, Utah
                               (alt) (Entered: 09/03/2014)
          10/21/2014               NOTICE VACATING 3-DAY JURY TRIAL HEARING as to Corbon Dalynn
                                   Hathaway set for Wednesday, November 12, 2014 before Judge David Nuffer. On
                                   10/6/2014, defense counsel notified Judge Nuffer's chambers that they will be filing a
                                   motion to continue. Motion to be filed before Noon, Wednesday, October 29, 2014.
                                   (asb) (Entered: 10/21/2014)




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          10/30/2014        21 NOTICE OF HEARING as to Corbon Dalynn Hathaway (Notice generated by DBP
                               Chambers). Change of Plea Hearing set for 11/24/2014 10:00 AM in Rm 8.400 before
                               Magistrate Judge Dustin B. Pead.
                               Court Address: NEW COURTHOUSE - 351 South West Temple, Salt Lake City, Utah
                               (tls) (Entered: 10/30/2014)
          11/21/2014        22 NOTICE OF HEARING as to Corbon Dalynn Hathaway (Notice generated by BCW
                               chambers) Change of Plea Hearing RESET (per J. Delicano) for 12/8/2014 09:45 AM in
                               Rm 8.400 before Magistrate Judge Brooke C. Wells.
                               Court Address: NEW COURTHOUSE - 351 South West Temple, Salt Lake City, Utah
                               (mlp) (Entered: 11/21/2014)
          12/08/2014        23 Minute Entry for proceedings held before Magistrate Judge Brooke C. Wells. Change of
                               Plea Hearing as to Corbon Dalynn Hathaway held on 12/8/2014. Dft present in custody
                               with cnsl. Consent to Proceed Before Magistrate Judge executed and filed. Dft sworn
                               and answered questions posed by the Court. Based upon answers received the Court
                               finds dft is legally competent to enter into plea today. Dft entered plea of GUILTY to
                               count 4 of the indictment. Statement in Advance of Plea of Guilty executed and filed.
                               Court accepts the plea finding that it was knowingly, intelligently and voluntarily
                               entered. Presentence Report ordered. Sentencing set for 2/23/2015 at 02:00 PM in Rm
                               3.100 before Judge David Nuffer. Dft remanded to USMS. Attorney for Plaintiff:
                               Richard Daynes, Attorney for Defendant: Jeremy Delicino, CJA. USPO: Heidi
                               Grossman, Court Reporter: electronic (no court reporter present).(Time Start: 9:50,
                               Time End: 10:10, Room 8.4.) (mlp) (Entered: 12/08/2014)
          12/08/2014        24 ORDER OF REFERENCE Under 636 (b)(3) and CONSENT TO ENTRY OF PLEA
                               before Magistrate Judge Brooke C.Wells as to Corbon Dalynn Hathaway. Signed by
                               Judge David Nuffer on 12/8/2014.(mlp) (Entered: 12/09/2014)
          12/08/2014        25 STATEMENT IN ADVANCE OF PLEA as to Corbon Dalynn Hathaway (mlp)
                               (Entered: 12/09/2014)
          12/08/2014        26 ***SEALED DOCUMENT*** Plea Supplement pursuant to DUCrimR11-1 as to
                               Corbon Dalynn Hathaway (mlp) (Entered: 12/09/2014)
          01/12/2015        27 AMENDED NOTICE OF HEARING as to Corbon Dalynn Hathaway

                                   Sentencing reset for Monday, 3/23/2015 at 02:30 PM in Rm 3.100 before Judge David
                                   Nuffer. (moved from 2/23/2015 per telephone request by defense counsel) (asb)
                                   (Entered: 01/12/2015)
          03/17/2015        29 AMENDED NOTICE OF HEARING as to Corbon Dalynn Hathaway

                                   Sentencing reset for Monday, 4/13/2015 at 11:30 AM in Rm 3.100 before Judge David
                                   Nuffer. (moved from 3/23/2015 per telephone request by defense counsel) (asb)
                                   (Entered: 03/17/2015)
          03/19/2015        30 Governments Position with Respect to Sentencing Factors as to Corbon Dalynn
                               Hathaway (Daynes, Richard) (Entered: 03/19/2015)
          04/03/2015        31 AMENDED NOTICE OF HEARING as to Corbon Dalynn Hathaway

                                   Sentencing reset for Monday, 4/27/2015 at 02:30 PM in Rm 3.100 before Judge David
                                   Nuffer. (moved from 4/13/2015 per email request by government counsel) (asb)



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                                   (Entered: 04/03/2015)
          04/24/2015        32 NOTICE OF HEARING as to Corbon Dalynn Hathaway

                                   Sentencing set for Monday, 4/27/2015 at 02:30 PM in Rm 7.300 before Judge David
                                   Nuffer. (PLEASE NOTE ROOM CHANGE) (asb) (Entered: 04/24/2015)
          04/27/2015        33 Minute Entry for proceedings held before Judge David Nuffer:,
                               Defendant present with counsel and in custody. Amendments to PSR discussed.
                               Statements made by government, defense counsel, and one victim. Government
                               requested 10 days to resolve restitution. Court continued the sentencing. Sentencing
                               reset for Tuesday, 5/12/2015 at 03:30 PM in Rm 3.100 before Judge David Nuffer.
                               Defendant remanded to USMS custody.
                               Attorney for Plaintiff: Richard Daynes, Attorney for Defendant: Jeremy Delicino, CJA.
                               Probation Officer: Heidi Groussman. Court Reporter: Becky Janke.(Time Start: 2:35,
                               Time End: 3:00, Room 7.300.) (asb) (Entered: 04/27/2015)
          05/12/2015        35 Minute Entry for proceedings held before Judge David Nuffer: Sentencing held on
                               5/12/2015 for Corbon Dalynn Hathaway (1),
                               Defendant present with counsel and in custody. Statements made by counsel, defendant
                               & government. Court Adjudges:
                               Sentence:
                               Count(s) 1-3, 5-8, 9-10, Dismissed per government motion.; Count(s) 4, Defendant
                               placed in BOP custody for a term of 36 months. Upon release, defendant placed on
                               supervised release for a term of 60 months. Standard and special conditions of
                               supervision imposed. VAF $100 due immediately. No fine. Restitution $30,417.48..
                               COP: 12/8/2015.
                               Defendant remanded to USMS custody.
                               Attorney for Plaintiff: Richard Daynes, Attorney for Defendant: Jeremy Delicino, CJA.
                               Probation Officer: Heidi Groussman. Court Reporter: Kelly Hicken.(Time Start: 3:30,
                               Time End: 3:45, Room 3.100.) (asb) (Entered: 05/12/2015)
          05/15/2015        37 JUDGMENT as to Corbon Dalynn Hathaway (1). Count(s) 1-3, 5-8, 9-10, Dismissed
                               per government motion; Count(s) 4, Dft pleaded guilty. SENTENCE: Dft committed to
                               custody of BOP for 36 months. Upon rls, dft shall be on Supervised Release for 60
                               months. FINE: None. RESTITUTION: $30,417.48. SPA: $100.00. Defendant Termed -
                               CASE CLOSED. Signed by Judge David Nuffer on 5/13/15 (alt) (Entered: 05/15/2015)
          05/15/2015        38 **SEALED DOCUMENT** RESTITUTION LIST re 37 Judgment, as to Corbon
                               Dalynn Hathaway (alt) (Entered: 05/15/2015)
          05/26/2015        40 Writ of Habeas Corpus ad Prosequendum Returned Executed as to Corbon Dalynn
                               Hathaway on 3/20/2014. (jds) (Entered: 05/28/2015)



                                                       PACER Service Center
                                                           Transaction Receipt
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                                      PACER                                    Client
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